                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

 GREENLITE HOLDINGS, LLC,
                                 Plaintiff,
 v.                                             Case No: 21-CV-646-HE

 THIRD COAST INSURANCE
 COMPANY, a foreign corporation,
                              Defendant.

                         SECOND AMENDED COMPLAINT

      COMES NOW Plaintiff, Greenlite Holdings, LLC, to assert the following claims

against Defendant, Third Coast Insurance Company (“TCIC”), based upon the facts

discussed herein.

      1.     Plaintiff, Greenlite Holdings, LLC, is a limited liability company that owned

property located in Oklahoma during all times material to this case.

      2.     Defendant, TCIC, is a foreign corporation domiciled in a state other than

Oklahoma with a principal place of business in a state other than Oklahoma.

      3.     TCIC is authorized to transact insurance business within the State of

Oklahoma and may be served with process through its designated service agent, Glen

Mulready, Oklahoma Insurance Commissioner, 400 NE 50th Street, Oklahoma City,

Oklahoma 73105.

      4.     TCIC conducts insurance business throughout the State of Oklahoma

including within Oklahoma County.
       5.     The amount in controversy underlying this action exceeds the jurisdictional

amount for diversity jurisdiction under federal law.

       6.     This Court has jurisdiction over the above-referenced parties.

       7.     This Court has jurisdiction over the subject matter in question.

       8.     Venue is proper in this Court.

       9.     At all times material hereto, Plaintiff was insured under a commercial

insurance policy issued by TCIC (STR6-031042-20 or STR7-033188-21).

       10.    Plaintiff’s insurance policy was in full force and effect at the time of the

covered losses discussed herein.

       11.    The apartment buildings Plaintiff insured with Defendant were damaged by

weight of ice/snow and freezing that occurred in October 2020.

       12.    This ice and snowstorm damaged the roofs and structural roof framing at the

apartments. The interiors of numerous apartments were also damaged from leaks caused

by such ice/snow and freezing.

       13.    The damage sustained by Plaintiff’s apartments was covered under its

insurance policy with TCIC.

       14.    Plaintiff submitted a claim for such damage to TCIC in a timely manner.

       15.    Plaintiff complied with all conditions precedent for recovery under its

insurance policy.

       16.    Further damage occurred in June 2021 when the ceilings and roofs in two

separate apartments collapsed or partially collapsed as a result of damage from the ice/snow

storm and the accumulation and weight of rain on such roofs. This additional damage was


                                               2
directly related to and resulted from the prior damage inflicted by the October 2020

ice/snow storm.

       17.    The damage sustained by Plaintiff’s apartments was covered under its

insurance policy with TCIC.

       18.    Plaintiff submitted a claim for such damage to TCIC in a timely manner.

       19.    Plaintiff complied with all conditions precedent for recovery under its

insurance policy.

       20.    TCIC breached its insurance contract with Plaintiff by refusing to pay for

covered damage to the roofs, decking, structural framing, interiors and consequential losses

of business income.

       21.    Defendant breached the implied covenant of good faith and fair dealing in its

handling of Plaintiff’s claim as a matter of routine claim practice in handling similar claims

by:

       a.     failing and refusing payment and other policy benefits owed to
              Plaintiff at a time when it knew Plaintiff was entitled to those benefits;

       b.     failing to properly or adequately investigate Plaintiff’s claims and
              obtain additional information both in connection with the original
              refusal and following the receipt of additional information;

       c.     refusing to honor Plaintiff’s claims in some instances for reasons
              contrary to the express provisions of the subject policy and/or
              Oklahoma law;

       d.     refusing to honor Plaintiff’s claims in some instances by knowingly
              misconstruing and misapplying provisions of the applicable policy;

       e.     failing to adopt and implement reasonable standards for the prompt
              investigation and reasonable handling of claims arising under these
              policies, including Plaintiff’s claims;



                                              3
       f.     not attempting in good faith to effectuate a prompt, fair and equitable
              settlement of Plaintiff’s claims once liability had become reasonably
              clear;

       g.     forcing Plaintiff, pursuant to its standard claims practice, to retain
              legal counsel in order to secure benefits it knew were payable to
              Plaintiff; and

       h.     failing to properly evaluate any investigation that was performed;

all in breach of the subject policy and in violation of the implied covenant of good faith

and fair dealing, thereby resulting in financial benefit to TCIC.

       22.    As a direct and proximate result of TCIC’s breach of the insurance contract

and breach of the implied covenant of good faith and fair dealing, Plaintiff suffered loss of

policy benefits, loss of coverage and other consequential financial damages

       23.    TCIC’s acts and omissions toward Plaintiff constitute reckless disregard of

its rights and/or intentional (with malice) violations of Defendant’s duty to deal fairly and

in good faith with its insureds. Therefore, Oklahoma law mandates an award of punitive

damages in Plaintiff’s favor.

       WHEREFORE, Plaintiff, Greenlite Holdings, LLC, respectfully demands

judgment against Defendant, Third Coast Insurance Company, for compensatory and

punitive damages, plus any interest, costs, attorney fees and other relief allowed by law in

an amount in excess of the amount required for diversity jurisdiction pursuant to 28 U.S.C.

§ 1332.




                                             4
                            MANSELL ENGEL & COLE
                            s/ Keith F. Givens
                            Steven S. Mansell, OBA #10584
                            Kenneth G. Cole, OBA #11792
JURY TRIAL DEMANDED         Keith F. Givens, OBA #16501
ATTORNEY LIEN CLAIMED       204 North Robinson, 21st Floor
                            Oklahoma City, OK 73102-7201
                            T: (405) 232-4100 ** F: (405) 232-4140
                            smansell@meclaw.net
                            ATTORNEYS FOR PLAINTIFFS




                        5
                             CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2021, I filed the attached document with the
Clerk of Court. Based on the records currently on file in this case, the Clerk of Court will
transmit a Notice of Electronic Filing to those registered participants of the Electronic Case
Filing System.

                                                  s/ Keith F. Givens




                                              6
